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 6
                            UNITED STATES DISTRICT COURT
 7
                         EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                     No. 2:14-021-RMP-9
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11                       Plaintiff,                ORDER GRANTING UNOPPOSED
                                                   MOTION TO MODIFY
12 vs.
13
   VONDERICK NOBLE,
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15                       Defendant.
16           Before the Court is Defendant’s Motion and Declaration for Modification of
17   Conditions of Release. ECF No. 1109.
18           Defendant has requested that his Release Conditions be modified so as to
19   allow him to reside in the State of Arkansas pending his sentencing on March 13,
20   2015.
21           Mr. Noble has been on personal recognizance throughout these proceedings
22   and has attended his court hearings and complied with the requests of his Pretrial
23   Services Officer, Anne Sauther. Neither Ms. Sauther nor the Assistant United
24   States Attorney, Jared Kimball, object to this Motion.
25           IT IS ORDERED that Defendant’s Motion, ECF No. 1109, is GRANTED.
26   Paragraph No. 13 of this court’s Order Setting Conditions of Release, ECF No.
27   388, is modified to state Defendant shall remain in the Eastern District of
28   Washington or in the State of Arkansas until his sentencing in this matter on March



     ORDER - 1
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 1   18, 2015, except for travel between the two districts on matters directly related to
 2   this case. All other conditions of release, including supervision by United States
 3   Probation previously set shall remain in place.
 4         DATED January 9, 2015.
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 6                               _____________________________________
                                           JOHN T. RODGERS
 7                                UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
